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~AO 106 (Rev. 04/10) Application for a Search Warrant
                                                                                                                      r-· ,_.   .---,~···~·-   --
                                                                                                                      1



                                                                           for the
                                                               Southern District of California

                       In the Matter of the Search of                         )
               (Briefly describe the property to be searched                  )
                or identijj; the person by name and address)                           Case No.
                                                                              )
     Black Apple iPhone X, Serial # 0792541517, currently in
     the possession of U.S. Fish and Wildlife Special Agent
                                                                              )
                                                                              )                              19MJ1540
                       Eduardo Nieves.                                        )

                                                APPLICATION FOR A SEARCH WARRANT
             I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
     penalty of perjury that I have reason to be! ieve that on the following person or property (identifj; the person or describe the
     property to be searched and give its location):

       See Attachment "A"
     located in the              Southern              District of _____C_a_li_fo_r_n_ia_ _ _ _ , there is now concealed (identijj; the
     person or describe the property to be seized):

       See Attachment "B"

                The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                         r!lf evidence of a crime;
                         0 contraband, fruits of crime, or other items illegally possessed;
                         0 property designed for use, intended for use, or used in committing a crime;
                         0 a person to be arrested or a person who is unlawfully restrained.
                The search is related to a violation of:
                   Code Section                                                     Offense Description
              Title18 USC 545, 371; Title 16           Smuggling; Importation Contrary to Law; Conspiracy; Unlawful Importation of
              USC 1538(c)(d) and 1540(b)               Wildlife.

                The application is based on these facts:
              See Attached Affidavit

                r!lf    Continued on the attached sheet.
                0 Delayed notice of _ _ days (give exact ending date if more than 30 days: ) is requested
                  under 18 U.S.C. § 3103a, the basis of which is set forth on th~~


                                                                                                      ~ature
                                                                                                 Eduardo Nieves, Special Agent
                                                                                                      Printed name and title

      Sworn to before me and signed in my presence.


      Date:      o/"..- /S:-~9
                             ,                                                                          Judge 's signature

      City and state: San Diego, California                                            Hon. Nita L. Stormes, U.S. M_agistrate Judge
                                                                                                      Printed name and title
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                             ATTACHMENT A

     The item to be searched is a black Apple iPhone X, Serial #

0792541517, currently in the possession of U.S. Fish and Wildlife

Special Agent Eduardo Nieves.
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                             ATTACHMENT B

       The following evidence to be searched for and seized is
limited to evidence of violations of Title 18 U.S.C § 371
(Conspiracy);    Title 18,   U.S.C.  §  545   (Smuggling/Importation
Contrary to Law); and Title 16 U.S.C. § 1538 (c) and (d) and 1540
(b) ( 1) (Unlawful Trafficking in Wildlife), for the period from May
1, 2017 to present:

     1.   Communications, records, or data including but not
limited to emails, text messages, photographs, audio files,
videos, or location data:

          a.    tending to indicate efforts to import, export,
                purchase,    sell, transport   and/or   ship   sea
                cucumbers, and/or other wildlife protected by the
                Convention on International Trade in Endangered
                Species   (CITES),  including  related   financial
                information;

          b.    images of sea cucumbers and/or other wildlife
                protected by the Convention on International Trade
                in Endangered Species;

          c.    tending   to  indicate  knowledge   of  the   legal
                requirements for the purchase, sale, transport,
                shipment, import and export of sea cucumbers and/or
                other wildlife protected by the Convention on
                International Trade in Endangered Species

          d.    tending to identify other facilities,      storage
                devices, or services-such as email addresses, IP
                addresses,   phone    numbers-that   may   contain
                electronic evidence tending to indicate efforts to
                illegally traffic in sea cucumbers;

          e.    tending   to  identify  co-conspirators,         criminal
                associates,   or   others   involved  in          illegal
                trafficking in sea cucumbers;

          f.    tending to identify travel to or presence at
                locations where sea cucumbers were purchased, sold,
                transported and/or delivered;
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       g.    tending to identify the user of, or persons with
             control over or access to, the subject phone; or

       h.    tending to place in context, identify the creator
             or recipient of, or establish the time of creation
             or receipt of communications, records, or data
             above.
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 1                           AFFIDAVIT FOR SEARCH WARRANT
 2 I, Eduardo R. Nieves, being duly sworn, depose, and state:
 3                                       INTRODUCTION
 4         1.    I am a Special Agent ("SA") of the United States Department of the Interior,
 5 Fish and Wildlife Service ("FWS") assigned to the San Diego, California, field office. I
 6 have been employed by the FWS as a Special Agent since July 2011.                 During m
 7 employment with the FWS, I have conducted and participated in numerous investigation
 8 pertaining to violations of federal and state wildlife laws. Prior to being employed as
 9 Special Agent, I held the position of a Wildlife Inspector for FWS from December 2004 t
10 July 2011. I also served as an Investigator for the Guam Attorney General's Office (fro
11 June 1997 to November 2004), and Conservation Officer (Game Warden) for th
12 Government of Guam's Agriculture Department (from July 1991 to June 1997).
13         2.    As a Special Agent for the FWS, I attended the FWS Special Agent Basi
14 Training at the Federal Law Enforcement Training Center in Glynco, Georgia. The trainin
15 I received included instruction on the requirements and implementation of the Conventio
16 on the International Trade in Endangered Species of Fauna and Flora ("CITES"), includin
17 the requirements for importing and exporting species of wildlife covered by CITES.
18 Training also included instruction for the requirements and implementation of th
19 Endangered Species Act, including the requirements for importing and exporting species o
20 wildlife listed as endangered.
21         3.    This affidavit is intended to support an application by the United States o
22 America for a search warrant for a cellular telephone found in the possession of Xuny
23 Zhao (hereinafter "the subject phone") as she entered the United States from Mexico. I see
24 authority to search the subject phone, more fully described in Attachment A, for items, more
25 fully described in Attachment B, which constitute evidence of violations of federal crimina
26 law by Xunyu Zhao and others, relating to illegal trafficking in sea cucumbers, that is, Titl
27 18, United States Code, Section 545, which prohibits smuggling, and importation contra
28 to law; Title 16, United States Code, Sections 153 8 (c) and (d) and l 540(b), which prohibi
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 1 knowingly engaging in trade or possessing specimens traded in violations of the provisions
 2 of CITES, and knowingly engaging in business as an importer of fish and wildlife without
 3 a license from the U.S. Fish and Wildlife Service; and Title 18, United States Code, Section
 4 3 71, which prohibits conspiracy to commit offenses against the laws of the United States.
 5           4.   The facts set forth in this affidavit are based on my own personal knowledge,
 6 knowledge obtained from other individuals during my participation in this investigation,
 7 including other law enforcement officers in the United States and Mexico, and information
 8 gained through my training and experience. Because this affidavit is submitted for the

 9 limited purpose of establishing probable cause in support of the application for a search
1O warrant, it does not set forth each and every fact that I or others have learned during the
11 course of this investigation.
12           5.   Sea cucumbers are aquatic invertebrates and are members of the class
13 Holothuroidea (not the classes defined as fish), and are regulated in the United States as
14 wildlife, not fishery products.
15                           STATEMENT OF PROBABLE CAUSE
16           6.   On February 10, 2019, at approximately 10:20 pm, defendant Xunyu Zhao
17 (Zhao) entered the United States from Mexico at the Calexico East Port of Entry, as the
18 driver and sole occupant of a 2014 Mini Cooper, registered to her. At the primary inspection
19 area, Zhao presented her U.S. passport card and stated she had nothing to declare from
20 Mexico. The primary officer conducted a vehicle search and found a sealed bag containing
21 2 kg of dried sea cucumbers concealed within her purse. After waiving her Constitutional
22 rights in writing (in Spanish), Zhao told Homeland Security Investigations Special Agent
23 Victor Lara that she picked up the sea cucumbers at the Golden China restaurant in Mexico
24 and was going to give them to a friend, who she identified as Luis Xiao.
25      7.        Zhao told Special Agent Lara she knew nothing about the sea cucumbers.
26 Zhao had no paperwork on her person relating to the sea cucumbers. At the time of her
27 detention, Zhao was in possession of the subject phone, a black iPhone 10, with a SIM card
28 indicating the IMEI/MEID is 890140427, and serial number is 0792541517. Special Agent
                                                 2
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 1 Lara conducted a manual examination of the subject phone and identified multiple photos
 2 of sea cucumbers stored in the phone in a WeChat conversation with Xiao. Also observed
 3 on the subject phone were images of identification and financial documents related to
 4 Xiongwei Xiao, a record of wire transfer of funds, an image of a business card for KC
 5 Trading in Brooklyn, New York (identified by open internet sources as traders m

 6 nondurable goods), and a receipt for shipment of a package to Brooklyn, New York.
 7         8.    On February 11, 2019, I took custody of the phone and the sea cucumbers
 8 seized from Zhao. Based on my experience and training, I believe the sea cucumbers seized

 9 from Zhao the previous day is of the species Isostichopus fuscus, which is protected under
10 Appendix III of CITES. Federal regulations require that a CITES certificate from the
11 country of origin be presented at the time of importation for all species covered by CITES.
12 50 CFR §23.13(a). Zhao had no CITES paperwork with her at the time of importation.
13         9.    I caused a check to be made of the records of the U.S. Fish and Wildlife Service
14 and learned that Zhao had no license to import commercial quantities of sea cucumbers.
15 Federal regulations establish a rebuttable presumption that eight or more similar unused
16 items constitute a commercial quantity. 50 CFR § 14.4. The two kilograms imported by
17 Zhao in February of 2019 consisted of well in excess of eight individual specimens.
18         10.   Previously, on May 9, 2017, Zhao entered the United States from Mexico at
19 the Calexico East Port Of Entry. Zhao advised the primary inspector that she had nothing
20 to declare. Inspectors discovered eleven and a half (11.50 kg) kilograms of Isostichopus
21 fuscus sea cucumbers in the vehicle. The sea cucumbers were seized at that time.
22         11.   Thereafter, on May 22, 2017, U.S. Fish and Wildlife sent a Notice of Seizure
23   and Proposed Forfeiture to Zhao at her residence in Calexico. The Notice explained that
24 the listed property ( 11.5 kg of Sea Cucumber, Isostichopus fuscus) had been imported
25 unlawfully in violation of 16 U.S.C. 1538(c)(l), because she had engaged in trade or
26 possessed species contrary to the provisions of CITES, and because the sea cucumbers were
27 imported without a permit required pursuant to 50 CFR 23.13(a). The Notice of Seizure
28 was accompanied by an Abandonment Form. The form allowed Zhao to abandon the sea
                                                 3
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 1 cucumbers to the Fish and Wildlife Service. Zhao signed and returned the Abandonment
 2 Form, and the sea cucumbers were forfeited.
 3         12.   In the interview with Special Agent Lara in February of2019, Zhao stated that
 4 the sea cucumbers she had previously imported in May of 201 7 were also intended for
 5 delivery to Luis Xiao. Zhao admitted that, in 2017, the Customs and Border Protections

 6 officers at the Port of Entry had advised her that it was illegal for her to import the sea
 7 cucumbers.
 8         13.   Based on my experience and training, and conversations with others involved
 9 in enforcement oflaws pertaining to fish and wildlife, I know that people involved in illegal
10 trafficking in fish and wildlife, and sea cucumbers in particular, frequently send
11 photographs of the sea cucumbers or other wildlife to others, to demonstrate the species,
12 size and quality of the product. Persons trafficking in fish and wildlife, and sea cucumber
13 in particular, are also known to send photographs, text messages and emails to others
14 regarding shipments of sea cucumber, prices, transportation and delivery arrangements, as
15 well as records of financial transactions involving the wildlife products. Such persons also
16 are known to conduct internet research and save documents regarding the legal requirements
17 for the purchase sale, transport, shipment, import and export of wildlife products.
18                                  CELLULAR TELEPHONE
19         14.   It is not possible to determine, merely by knowing the cellular telephone's
20 make, model and serial number, the nature and types of services to which the device is
21 subscribed and the nature of the data stored on the device. Cellular devices today can be
22 simple cellular telephones and text message devices, can include cameras, can serve as
23 personal digital assistants and have functions such as calendars and full address books and
24 can be mini-computers allowing for electronic mail services, web services and rudimentary
25 word processing. An increasing number of cellular service providers now allow their
26 subscribers to access their device over the internet and remotely destroy all of the data
27 contained on the device. For that reason, the device may only be powered in a secure
28 environment or, if possible, started in "flight mode," which disables access to the network.
                                                 4
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 1 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 2 equivalents and store information in volatile memory within the device or in memory cards
 3 inserted into the device. Current technology provides some solutions for acquiring some of
 4 the data stored in some cellular telephone models using forensic hardware and software.
 5 Even if some of the stored information on the device may be acquired forensically, not all
 6 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 7 data acquisition or that have potentially relevant data stored that is not subject to such
 8 acquisition, the examiner must inspect the device manually and record the process and the
 9 results using digital photography. This process is time, labor intensive, and may take weeks
10 or longer.
11          15.   Following the issuance of this warrant, I will collect the subject cellular
12 telephone and subject it to analysis. All forensic analysis of the data contained within the
13 telephone and its memory cards will employ search protocols directed exclusively to the
14 identification and extraction of data within the scope of this warrant.
15          16.   Based on the foregoing, identifying and extracting data for a cellular telephone
16 subject to seizure pursuant to this warrant may require a range of data analysis techniques,
17 including manual review, and, consequently, may take weeks or months. The personnel
18 conducting the identification and extraction of data will complete the analysis within ninety
19 (90) days, absent further application to this court, and the cellular phone will be returned to
20 its owner.
21 II
22   II
23 II
24 II
25 II
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28 II
                                                   5
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 1                                      CONCLUSION
 2        Based on the foregoing, there is probable cause to believe the items identified in
 3 Attachment B constitute evidence of violations of Title 18, United States Code,§§ 371, 545
 4 and Title 16, United States Code, §§1538 and 1540, and will be found on the cellular
 5 telephone to be searched as
 6
 7

 8 Special Agent, USFWS OLE
 9
                                                e:
10 Subscribed and sworn to before me this__£_ day of April 2019
11
12
13 HONORABLE NITAL. STORMES
     UNITED STATES MAGISTRATE JUDGE
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